Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 1 of 10 PageID #: 54




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 ERIN FORTUNE,                      )
 IVY GREEN, and                     )
 MARLEE GREEN, a minor by her mother)
 IVY GREEN,                         )
                                    )
         Plaintiff,                 )
                                    )                         Cause No. 1:21-cv-02682-RLY-TAB
 v.                                 )
                                    )
 WHITE LEGACY PROPERTIES, LLC       )
 d/b/a and a/k/a INDIANAPOLIS       )
 MARRIOTT DOWNTOWN,                 )
                                    )
 WHITE LODGING SERVICES CORPORATION )
 d/b/a and a/k/a INDIANAPOLIS       )
 MARRIOTT DOWNTOWN,                 )
                                    )
 WHITE LODGING LEASING, LLC         )
 d/b/a and a/k/a INDIANAPOLIS       )
 MARRIOTT DOWNTOWN,                 )
                                    )
 MARRIOTT INTERNATIONAL, INC.       )
                                    )
                 Defendants.        )

                     ANSWER, DEFENSES, AND JURY DEMAND
                 OF DEFENDANT WHITE LEGACY PROPERTIES, LLC

        Defendant, White Legacy Properties, LLC, (incorrectly identified as White Legacy

 Properties, LLC d/b/a and a/k/a Indianapolis Marriott Downtown) tenders its Answer, Defenses,

 and Jury Demand to the Plaintiff’s Complaint as follows:

                                        FIRST DEFENSE

    1. Plaintiff Erin Fortune is a resident and citizen of the state of Michigan.

    ANSWER: The Defendant, White Legacy Properties, LLC, lacks knowledge or information
    sufficient to form a belief as to the truth of the allegations set forth in paragraph 1 of the
    Complaint.
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 2 of 10 PageID #: 55




     2. Plaintiff Ivy Green is a resident and a citizen of the state of Michigan.

     ANSWER: The Defendant, White Legacy Properties, LLC, lacks knowledge or information
     sufficient to form a belief as to the truth of the allegations set forth in paragraph 2 of the
     Complaint.

     3. Plaintiff Marlee Green, a minor, is a resident and citizen of the state of Michigan. Her

 claims in this case are brought on her behalf by her mother, Ivy Green.

     ANSWER: The Defendant, White Legacy Properties, LLC, lacks knowledge or information
     sufficient to form a belief as to the truth of the allegations set forth in paragraph 3 of the
     Complaint.


     4. Defendant White Legacy Properties, LLC is a Delaware limited liability company with its

 principal place of business in Merrillville, Indiana. It is a corporate citizen of the state of Indiana.

     ANSWER: The Defendant, White Legacy Properties, LLC, admits the allegations set forth
     in paragraph 4 of the Complaint.


     5. Defendant White Lodging Services Corporation is an Indiana Corporation with its principal

 place of business in Merrillville, Indiana. It is a corporate citizen of the state of Indiana.

     ANSWER: The allegations set forth in paragraph 5 of the Complaint are not directed toward
     this defendant, and therefore no response is required. To the extent a response may be required,
     the Defendant, White Legacy Properties, LLC, lacks knowledge or information sufficient to
     form a belief as to the truth of the allegations set forth in paragraph 5 of the Complaint.


     6. Defendant White Lodging Leasing, LLC is a Delaware limited liability company with its

 principal place of business in Merrillville, Indiana. It is a corporate citizen of the state of Indiana.

     ANSWER: The allegations set forth in paragraph 6 of the Complaint are not directed toward
     this defendant, and therefore no response is required. To the extent a response may be required,
     the Defendant, White Legacy Properties, LLC, lacks knowledge or information sufficient to
     form a belief as to the truth of the allegations set forth in paragraph 6 of the Complaint.


     7. Defendant Marriott International, Inc. is a Delaware corporation with its principal place

 of business in Bethesda, Maryland. It is a corporate citizen of the state of Maryland.



                                                    2
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 3 of 10 PageID #: 56




    ANSWER: The allegations set forth in paragraph 7 of the Complaint are not directed toward
    this defendant, and therefore no response is required. To the extent a response may be required,
    the Defendant, White Legacy Properties, LLC, lacks knowledge or information sufficient to
    form a belief as to the truth of the allegations set forth in paragraph 7 of the Complaint.


    8. This Court has personal jurisdiction over Defendants because the personal injury in this

 case occurred in Marion County, Indiana and the events giving rise to this case occurred in

 Marion County, Indiana.

    ANSWER: The Defendant, White Legacy Properties, LLC, objects to the allegations of
    paragraph 8 because the same constitute legal conclusions, such that no answer should be
    required. To the extent an answer may be required, Defendant, White Legacy Properties, LLC,
    admits that the Plaintiff has alleged that certain events took place in Marion County, Indiana
    and, answering further, the Defendant, White Legacy Properties, LLC states that it does not
    object to the Court’s exercise of personal jurisdiction over it.


    9. This Court has subject matter jurisdiction over this claim under 28 U.S.C. § 1332.

    ANSWER: The Defendant, White Legacy Properties, LLC, objects to the allegations of
    paragraph 9 because the same constitute legal conclusions, such that no answer should be
    required. The Defendant, White Legacy Properties, LLC lacks knowledge or information
    sufficient to form a belief as to the truth of the allegations set forth in paragraph 9, because it
    lacks knowledge or information sufficient to form a belief as to the truth of the allegations
    pertaining to the Plaintiffs’ citizenship in the state of Michigan. Answering further, while the
    Plaintiff has alleged that the amount in controversy exceeds $75,000, the Defendant, White
    Lodging, LLC denies that the Plaintiff is entitled recovery of that amount, or any amount
    whatsoever.


    10. The amount in controversy exceeds $75,000.

    ANSWER: The Defendant, White Legacy Properties, LLC, admits that the Plaintiff has
    demanded over $75,000, but denies the allegations set forth in paragraph 10 of the Complaint.


    11. This Court is a proper venue for the claims in this Complaint in accordance with 28

 U.S.C. § 1391(B)(2).

    ANSWER: The Defendant, White Legacy Properties, LLC, admits the allegations in
    paragraph 11.




                                                  3
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 4 of 10 PageID #: 57




    12. Defendants owned and operated the downtown Indianapolis Marriott Hotel in October

 2019.

    ANSWER: The Defendant, White Legacy Properties, LLC, denies the allegations set forth
    in paragraph 12 of the Complaint.


    13. Plaintiffs stayed as paying hotel guests at Defendants’ downtown Indianapolis Marriott

 Hotel from October 23, 2019 through October 27, 2019.

    ANSWER: The Defendant, White Legacy Properties, LLC, lacks knowledge or information
    sufficient to form a belief as to the truth of the allegations set forth in paragraph 13 of the
    Complaint.


    14. Defendants’ hotel had an infestation of bedbugs in October 2019.

    ANSWER: The Defendant, White Legacy Properties, LLC, lacks knowledge or information
    sufficient to form a belief as to the truth of the allegations set forth in paragraph 14 of the
    Complaint.


    15. While staying as guests at Defendants’ hotel, Plaintiffs were exposed to bedbugs and bitten

 by bedbugs.

         ANSWER: The Defendant, White Legacy Properties, LLC, lacks knowledge or
         information sufficient to form a belief as to the truth of the allegations set forth in
         paragraph 15 of the Complaint.


    16. Plaintiffs have suffered injury as a result of the exposure to bedbugs and the bites of the

 bedbugs. Plaintiffs have also had to dispose of personal property that was contaminated by

 bedbugs.

    ANSWER: The Defendant, White Legacy Properties, LLC, denies the allegations set forth in
    paragraph 16 of the Complaint.


    17. Plaintiff re-alleges and incorporates by reference paragraphs 1 through 16.




                                                    4
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 5 of 10 PageID #: 58




     ANSWER: The Defendant, White Legacy Properties, LLC, incorporates its response to
     paragraphs 1 through 16 of the Complaint as if fully restated here.


     18. As the operator of a hotel, Defendants had a duty to ensure that its hotel was not infested

 with bedbugs.

     ANSWER: The Defendant, White Legacy Properties, LLC, denies the allegations contained
     in paragraph 18 of the Complaint.


     19. Defendants breached their duty as their hotel was infested with bedbugs and they allowed

 guests to stay at their hotel.

     ANSWER: The Defendant, White Legacy Properties, LLC, denies the allegations set forth in
     paragraph 19 of the Complaint.


     20. As a direct and proximate result of this breach of duty, Plaintiffs have suffered bodily injury

 and property loss. Their damages total more than $75,000 each.

     ANSWER: The Defendant, White Legacy Properties, LLC, denies the allegations set forth in
     paragraph 20 of the Complaint.


     21. Plaintiff re-alleges and incorporates by reference paragraphs 1 through 20.

     ANSWER: The Defendant, White Legacy Properties, LLC, incorporates its responses to
     paragraphs 1 through 20 as if fully restated here.


     22. By not preventing the bedbug infestation, Defendants acted with conscious disregard for

 the rights and safety of others, including Plaintiffs.

     ANSWER: The Defendant, White Legacy Properties, LLC, denies the allegations set forth in
     paragraph 22 of the Complaint.


     23. Plaintiffs should be awarded punitive damages against Defendants.

     ANSWER: The Defendant, White Legacy Properties, LLC, denies the allegations set forth
     in paragraph 23 of the Complaint.



                                                    5
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 6 of 10 PageID #: 59




    WHEREFORE, Defendant, White Legacy Properties, LLC, denies that the Plaintiffs are

 entitled to the relief requested by their Complaint, or in any amount or manner whatsoever, and

 requests that this Court enter judgment in the Defendant’s favor and issue all just and proper relief

 in the Defendant’s favor as the Court deems proper.



                                            SECOND DEFENSE

        White Legacy Properties, LLC, denies that it violated any legal duty to the Plaintiff’s

 decedent, denies that it caused any injury, disputes the nature and the extent of the injuries alleged,

 and denies that it should be held liable to Plaintiff in any manner whatsoever.



                                         THIRD DEFENSE

        By enumerating certain defenses herein, White Legacy Properties, LLC, does not assume

 any burden of proof as to any matters for which it would not carry a burden of proof under law.



                                        FOURTH DEFENSE

        As to any matter stated in the Plaintiff’s Complaint which has not specifically been

 admitted, denied, or sufficiently controverted, the same are hereby denied.



                                          FIFTH DEFENSE

        Plaintiff’s Complaint fails to state a claim upon which relief may be granted. Ind. T.R.

 12(B)(6).




                                                   6
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 7 of 10 PageID #: 60




                                         SIXTH DEFENSE

         The Plaintiffs decedent are chargeable with comparative fault regarding the alleged

 occurrence and their comparative fault was greater than the fault of all persons (if any) whose fault

 proximately contributed to the Plaintiffs’ alleged damages (if any). Accordingly, the Plaintiffs’

 claim is barred in accordance with the Indiana law on comparative fault, at Ind. Code § 34-51-2-

 1, et seq.



                                       SEVENTH DEFENSE

         The Plaintiffs are chargeable with comparative fault regarding the alleged occurrence in

 question, and any award in Plaintiffs’ failure shall be reduced proportionally in accordance with

 the Indiana law on comparative fault, at Ind. Code § 34-51-2-1, et seq.



                                           EIGHTH DEFENSE

         The Plaintiffs’ alleged injuries and damages may have been caused by non-parties, and the

 Defendant shall not be liable for any fault attributed to such non-parties. The Defendant reserves

 the right to identify non-parties who may bear fault for the alleged injuries and damages as

 investigation and discovery continue.



                                            NINTH DEFENSE

         Ind. Code § 32-33-7-2 limits the liability of a proprietor of manager of a hotel with respect

 to the loss or damage to property of a guest. Under that Act, the Plaintiffs’ are barred from

 recovering for loss or damage to property, because the property was not deposited with the




                                                  7
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 8 of 10 PageID #: 61




 manager or proprietor. Alternatively, for any items that were deposited (if any), the hotel’s liability

 is limited to $600.


                                             TENTH DEFENSE

        Ind. Code § 32-33-7-5 limits the liability for loss or damage to property following a hotel

 guests’ departure to $100.



                                          ELEVENTH DEFENSE

        The caps on liability for loss or damage to property while in transit to or from any hotel

 found at Ind. Code § 32-33-7-6 may also apply.



                                             TENTH DEFENSE

        The Plaintiff’s alleged damages may have been satisfied, in whole or in party, by collateral

 sources. Therefore, the Defendant is entitled to seek a reduction by the trier of fact or any permitted

 collateral source recovery.


                                          ELEVENTH DEFENSE

        The Defendant should be entitled to an award of costs under 28 U.S.C § 1332(b) in the

 event the amount of the Plaintiffs’ recovery is less than $75,000.



        The Defendant, White Legacy Properties, LLC, reserves the right to identify additional

 affirmative defenses as they become known.




                                                   8
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 9 of 10 PageID #: 62




        WHEREFORE, the Defendant, White Legacy Properties, LLC, respectfully requests that

 the Plaintiffs take nothing by away of their Complaint, and that the Defendant be awarded all

 reasonable expenses incurred in the defense of this action, and that the Defendant be granted all

 such further relief as this Court deems proper.



                                  DEMAND FOR JURY TRIAL

        Defendant, White Legacy Properties, LLC, hereby demands a jury trial as provided by

 Rule 38(a) of the Federal Rules of Civil Procedure as to all issues or claims for which a jury trial

 is allowed.



                                               Respectfully submitted,


                                                 /s/ Brett T. Clayton__________________
                                               Brett T. Clayton (#27062-49)
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                                               Attorney for Defendants




                                                   9
Case 1:21-cv-02682-TAB-RLY Document 15 Filed 01/07/22 Page 10 of 10 PageID #: 63




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document has been filed electronically this 7th day of
 January, 2022 via the United State District Court’s CM/ECF System:

 Louis C. Schneider
 THOMAS LAW OFFICES, PLLC
 250 East Fifth Street, Suite 440
 Cincinnati, OH 45202

                                              /s/ Brett T. Clayton__________________
                                             Brett T. Clayton (#27062-49)
                                             REMINGER CO., L.P.A.




                                               10
